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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________________________________ _

BLACK LOVE RESISTS IN THE RUST, et al.

                  Plaintiffs,                                              STIPULATION OF
                                                                       SELECTION OF MEDIATOR

          -vs-                                                          Civil Action No.: 18-cv-719

CITY OF BUFFALO, et al.

                  Defendants.
_________________________________________________________________


         IT IS HEREBY STIPULATED AND AGREED, by and between counsel for all
parties to this action, that Michael Menard, Esq., has been selected, contacted and agreed
to serve as Mediator for this action and the parties are in the process of scheduling an
initial mediation session.
         IT IS FURTHER STIPULATED AND AGREED, that counsel will participate in the
mediation session in good faith and confer with the Mediator regarding the scheduling
of additional conferences bearing in mind the completion of ADR set forth in the Court’s
Scheduling Order.


Dated: November 6, 2018
       Buffalo, New York




/s/ Claudia Wilner_______________                                 /s/ Robert E. Quinn
By: Claudia Wilner, Esq.                                          By: Robert E. Quinn, Esq.
Attorney for the Plaintiffs                                       Attorney for the Defendants
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